           Case 1:20-cv-03037-MKD                   ECF No. 31        filed 11/04/20       PageID.3235 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT                                            FILED IN THE
                                                                  for thH_                                   U.S. DISTRICT COURT
                                                                                                       EASTERN DISTRICT OF WASHINGTON
                                                     Eastern District of Washington
                         VERONICA T.                                                                    Nov 04, 2020
                                                                                                              SEAN F. MCAVOY, CLERK
                                                                     )
                             Plaintiff                               )
                                v.                                   )       Civil Action No. 1:20-CV-03037-MKD
                                                                     )
  ANDREW M. SAUL, COMMISSIONER OF SOCIAL                             )
                SECURITY,

                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

u the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: The parties’ Stipulated Motion for Remand, ECF No. 29, is GRANTED. The above-captioned case be REVERSED and
u
              REMANDED to the Commissioner of Social Security for further administrative proceeding pursuant to sentence four of
              42 U.S.C. § 405(g). Judgment is entered for PLAINTIFF.



This action was (check one):
u tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

u tried by Judge                                                                          without a jury and the above decision
was reached.

✔
u decided by Judge               Mary K. Dimke                                                 on a stipulated motion for remand.




Date: November 4, 2020                                                     CLERK OF COURT

                                                                            SEAN F. McAVOY

                                                                            s/ Pam Howard
                                                                                           %\ Deputy Clerk

                                                                            Pam Howard
